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                                                                  #130
B A O 245D      (Rev. 12103) Judgment in a Criminal Case for Revocations
                Sheet 1




                                              SOUTHERN               District of     ILLINOIS
UNITED STATES OF AMERICA                                                    JUDGMENT IN A CRIMINAL CASE
V.                                                                          (For Revocation of Probation or Supervised Release)


SHONA GARNER                                                                Case Number:                       4:98CR40124-005-JPG
                                                                            USM Number:                         04609-025
                                                                            Melissa Day, FPD
                                                                            Defendant's Attorney
THE DEFENDANT:
E3 adrmtted guilt to violation of condition(s) as alleged in petition
-                                                                                                 of the term of supervision.
0 was found in violation of condition(s)
-                                                                                          after denial of guilt.
The defendant is adjudicated pity of these violations:

Violation Number                  Nature of Violation                                                                 Violation Ended
Statutory                         Defendant tested positive for marijuana                                             0910712004
Special                           The defendant failed to show for drug testing, counseling session and               09/09/2004
                                  group therapy sessions




       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                              #            of this judgment. The sentence is imposed pursuant to


- The defendant has not violated condition(s)                                        and is discharged as to such violation(s) condition

          It is ordered that the defendant must notif the United States attorney for this district within 30,days of any
change of name, residence, or mailing address untiall fines, restitution, costs, and spec~alassessments mposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
econonuc circumstances.

Defendant's Sac. See. No.:     ***-** 1507                                  09/15/2005
Defendant's Date of Birth:     **-**-I980


                                                                            Signature bf    dke
Defendant's Residence Address:



State : IL                                                                  J. Phil Gilbert. District Judze
                                                                                      n
                                                                            Name and Ttle of Judge




Defendant's Mailing Address:
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                                                                #131
A 0 245D    (Rev. 12103 Judgment in a Criminal Case for Revocations
            Sheet 2- Imprisonment
                                                                                                   Judgment - Page
DEFENDANT:                   SHONA GARNER
CASE NUMBER:                 4:98CR40124-005-JPG


                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term o f : Time Served (5 months and 4 days)




    - The court makes the following recommendations to the Bureau of Prisons:




    0
    -   The defendant is remanded to the custody of the United States Marshal.

    0
    -   The defendant shall surrender to the United States Marshal for this district:

        -
        0 at                                      - a.m.         fi p.m.    on

        -     as notified by the United States Marshal.

    - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        0 before 2 p.m. on
        -
        - as notified by the United States Marshal.
        0 as notified by the Probation or Pretrial Services Off~ce.
        -
                                                                      RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                         to

a                                                   with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                           -,
                                                                                              DEPUTY UNITED STATES MARSHAL
           Case 4:98-cr-40124-JPG                      Document 230 Filed 09/20/05                  Page 3 of 4          Page ID
                                                                 #132
A 0 245D    R e v . 121031  -
                         . Judmnent in a Cnminal Case for Revocations
            Sheet 3 S u p e r v i s e d Release
                                                                                                    Judgment-Page   3
DEFENDANT:                 SHONA GARNER
CASE NUMBER:               4:98CR40124-005-JPG
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:          24 months




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prlsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as d e t e m e d by the court.
-     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
-     The defendant shall not possess a fuearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

-     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

-     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works;
      or is a student, as directed by the probation officer. (Check, if applicable.)
-     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fme or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of t h ~judgment.
                                             s
        The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION
 1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
       of each month;
 3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    the defendant shall support his or her dependents and meet other family responsibilities;
 5)    the defendant shall work regularly at a lawful occupation,unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
 6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9) the defendant shall not associate w$h any ersons engaged in criminal activity and shall not associate with any person convicted
    of a felony, unless granted permiss~onto xo so by the probation officer;
10)    the defendant shall permit a proba!ionpfficer to visit him or her at any time at home or elsewhere and shall permit confiscation
       of any contraband observed m plam vlew of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
13)    as dlrcctcd hy the probat~onofficer, the defendant shall nottf th~rdpame3 ot rtsks that may hc occas~onedby the defendant's
       cnnunal record or ersonal htstory or charactmcucs and shah p e n t the probat~ononiccr to make such not~ficat~onr   and to
       confirm the drfmdnt's comphance w~thsuch not~ficat~on       requ~rumcnt
           Case 4:98-cr-40124-JPG                     Document 230 Filed 09/20/05              Page 4 of 4        Page ID
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A 0 245D    (Rev. 12103) Judgment in a Criminal Case for Revacations
            Sheet 3C - Supelvised Release
                                                                                              Judgment-Page   4
DEFENDANT:                 SHONA GARNER
CASE NUMBER:               4:98CR40124-005-JPG

                                       SPECIAL CONDITIONS OF SUPERVISION
The defendant shall participate in a 22 week Cottage of Skills Program as directed by probation,
The defendant shall continue to maintain employment.
The defendant shall amcipatt. as directed and 3 roved hy the probatton officer in treatment ior narcotic addiction, drug
dependence, or alto'!i o l dependence, wh~cliinch% urrnalyxs or other dm ' dcrect~onnieasurea and a l i ~ c hnny requlrc rr>idzncc
and or partlrl atlon in a res~dent~altrearnienr iacllrty. Any paniclpat~onwhl requlre con1 letc abst~nencefrom all alcoholic
heverages &r defendant shall pa). for the costs assoa~terlwlth tubstance abuse counsel% and or tcstlng based on a co-pay
shding fee scale appru\cd by the I . nmrl Statcs Probation Oiticc. Co-pay shall n e w excceh the totdl costs ofcounselmg.
